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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,                    )
                                               )
                       Plaintiff,              )
                                               )   C.A. No. 1:19-cv-1481-RGA
       v.                                      )
                                               )
RODAN & FIELDS, LLC,                           )
                                               )
                       Defendant.              )

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a) of the Federal Rules of

Civil Procedure, herby provides notice that it dismisses WITHOUT PREJUDICE all claims in

this cause of action against Defendant Rodan & Fields, LLC. Each party shall bear its own

costs, expenses, and attorneys’ fees.


Dated: October 29, 2019                            Respectfully submitted,


STAMOULIS & WEINBLATT LLC
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